Case 1:20-cr-00330-AJN Document 97-15 Filed 12/14/20 Page 1 of 10




                 Exhibit O
Case 1:20-cr-00330-AJN Document 97-15 Filed 12/14/20 Page 2 of 10




               GHISLAINE MAXWELL
          FINANCIAL CONDITION REPORT: 2015 – 2020

                  ------------------------------------------

             INDEPENDENT REPORT & COMMENTARY
               PREPARED BY MACALVINS LIMITED
                  CHARTERED ACCOUNTANTS

                                    FOR

                  COHEN & GRESSER LLP
                  ____________________________




                                                               1|Page
     Case 1:20-cr-00330-AJN Document 97-15 Filed 12/14/20 Page 3 of 10




                               GHISLAINE MAXWELL

                         FINANCIAL CONDITION REPORT

                                      2015 - 2020




                                   Table of Contents




Independent Accountants’ Commentary                              3


Statement of Financial Condition                                 9


Appendices




                                                                  2|Page
        Case 1:20-cr-00330-AJN Document 97-15 Filed 12/14/20 Page 4 of 10




                             Independent Accountants’ Commentary



Cohen & Gresser LLP
800 Third Avenue
New York, New York 10022


       1. In accordance with our engagement of 10 August 2020, we have prepared a summary
          of the financial condition of Ghislaine Maxwell based on the following information

          (i)     Copies of her US tax returns filed in the years 2015 to 20201
          (ii)    Documentation provided by Ghislaine Maxwell’s office and her spouse
                  including bank statements and financial correspondence relating to bank
                  accounts, pension fund, and investments2
          (iii)   Documentation provided by the United States Attorney’s Office for the
                  Southern District of New York under disclosure in the criminal proceedings3

       2. We have assisted in the preparation of this statement of financial condition in
          accordance with International Financial Reporting Standards (IFRS)4 on behalf of
          your client Ghislaine Maxwell.

       3. The information supplied by Ghislaine Maxwell’s office and by her spouse is
          incomplete due to the limited ability to access historic banking information from
          some banks that have terminated their relationship either with Ghislaine Maxwell
          and/or her spouse. However, we are satisfied from the review we have carried out
          that the absence of some contemporaneous documentary evidence does not invalidate
          or cast doubt on the conclusions we have reached nor on the overall reliability of the
          financial information as presented in the summary of the financial condition of
          Ghislaine Maxwell.

       4. We are not able to perform a full audit of the statement of financial condition, nor
          have we performed any audit type procedures, due to the current circumstances
          relating both to the impact of the Covid-19 pandemic and the conditions of the
          detention of Ghislaine Maxwell.

       5. Accordingly, our opinion is reliant on the information provided to us, which is
          outlined in paragraph 1(i)-1(iii) above.




1
  Tax returns filed for the years 2015-2020 are attached as appendices to this report.
2
  Attached as appendices to this report.
3
  Relevant discovery materials reviewed pursuant to the terms of the Protective Order issued
in United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN) are attached as appendices to this
report.
4
    See appendices to this report
                                                                                     3|Page
 Case 1:20-cr-00330-AJN Document 97-15 Filed 12/14/20 Page 5 of 10




6. In our professional opinion, notwithstanding the issues highlighted above, the
   conclusions that we reach in this report are substantiated by all of the data that we
   have been able to review.

7. We have not carried out nor commissioned any independent valuation of assets and
   have recorded valuations at the lower of historic cost or net realisable value in
   accordance with IFRS. The accounting policies adopted are to value investments at
   cost, motor vehicles and                         have been depreciated at 20% per
   annum. The carrying value of jewellery and chattels is presented at lower of cost or
   estimated net realisable values based on the information provided by Ghislaine
   Maxwell’s spouse. For the purposes of this Report and exchange of £1: US$1.30 has
   been used throughout the period.

8. The statement of financial condition does not include the following categories of
   asset and liability:

      Contingent assets including any contingent proceeds arising from inheritances;
       cash recoveries from litigation against third parties; future income derived from
       intellectual property rights;
      Taxation liabilities including a potential $1,500,000 liability arising from the New
       York state audit for the year ending 31 December 2016;
      Any other contingent liabilities including potential damages or costs arising from
       civil litigation in the United States or other jurisdictions

   Summary of Facts and Conclusions & Summary of Assets (E&OE)

9. This Financial Condition Report summarizes the total assets of Ghislaine Maxwell
   and her spouse in the time period from 2015-2020.

10. All of Ghislaine Maxwell’s assets either owned directly by her, or transferred by her
    to trusts, or owned by her spouse are fully recorded in this Financial Condition
    Report.

11. Ghislaine Maxwell’s net        worth   at   1 January 2015       was    approximately
    US$20,200,000.

12. The 2015 tax return records the sale of a residential property in New York City for
    $15,075,000. The address of this property is
             This report tracks the application of these proceeds all of which are
    accounted for at all times under review. The proceeds were deposited at




13. Ghislaine Maxwell married her spouse in 2016 and commenced filing joint US tax
    returns from the 2016 tax year until today. In 2016 Ghislaine Maxwell transferred
    the majority of her assets into a trust controlled by her spouse




                                                                                4|Page
     Case 1:20-cr-00330-AJN Document 97-15 Filed 12/14/20 Page 6 of 10




    14. Ghislaine Maxwell’s net worth varied in the period under review.5

    15. Ghislaine Maxwell and her spouse’s net worth at 31 October 2020 is approximately
        US$22,500,000. This is an estimate based on the 2019 tax filings to the end of
        December 2019 and review of bank statements and explanations provided by her
        spouse where bank statements are currently unavailable. This figure includes
        approximately $7.67m of advance legal retainer fees.

    16. There has been no alienation of any assets in the period 2015-2020 other than
        expenditure in the ordinary course of family life and more recently since 2019 very
        substantial expenditure on professionals engaged in the defense of Ghislaine
        Maxwell from the criminal charges she faces.

    17. In light of our inability to access all of the bank statements for the entire period for
        the reasons already explained in paragraphs 3 and 4 above, we have not been able to
        review every movement of cash from every account; we can, however, deduce from
        starting or opening balances and the closing balances that we have reviewed in each
        year that no significant sum of cash has been transferred outside of the control of
        Ghislaine Maxwell and or her spouse. All of the principal sources and uses of cash
        from 2015 through 2020 are covered by this report of financial condition without
        exception.

       Summary of Specific Transfers and Accounts

    18. We noted that accounts controlled either by Ghislaine Maxwell and/or her spouse,
        either directly or indirectly, maintained substantial cash and equity balances of
        approximately $16 million during the period under review. The cash and equity
        balances clearly increased from the time of the disposal of the New York property.
        There are many examples of transfers between accounts, movements triggered by the
        closure of one banking relationship and the opening of new relationship (examples
        include the movement of cash and assets from                              ) as well
        movements of cash maturing on deposit and other financial investments.

    19. In its initial bail submission, the Government referenced transfers totaling more than
        $20 million in the earlier period of 2007-2011 which the Government described as
        transfers from Jeffrey Epstein’s accounts to Ghislaine Maxwell’s accounts and vice
        versa. We noted in our review of the financial disclosure materials, that during the
        period 2007-2011 Ghislaine Maxwell acted as an officer of various corporate entities
        related to aircraft and air travel associated with Jeffrey Epstein and we noted
        substantial transfers involving these corporate entities. We did not note any transfers
        of this nature or the nature described by the government in the 2015-2020 period
        which forms the subject of our Financial Condition Report.



5
  Macalvins prepared a report of financial condition for Ghislaine Maxwell dated April 30th
2017 (see appendices to this report). The report recorded assets legally and beneficially
owned by Ghislaine Maxwell on the balance sheet date. The specific liability recorded arose
from a personal guarantee given by Ghislaine Maxwell. This matter was resolved by the year
end of 2017 without diminution of assets.


                                                                                     5|Page
        Case 1:20-cr-00330-AJN Document 97-15 Filed 12/14/20 Page 7 of 10




       20. We have reviewed available accounts and filings of Terramar Project Inc, a 501C
           charitable corporation in the United States, and the available accounts and filings of
           Terramar UK, a charity registered in the United Kingdom. Both charities were
           established by Ghislaine Maxwell who sat on the respective boards of each. The
           objects of the charity are to promote for the public benefit: a) the conservation,
           protection and improvement of the environment, and in particular the environment of
           the oceans, seas, coastlines and tidal areas b) the conservation and protection of
           endangered marine flora and fauna c) the education of the public in the fields of
           marine conservation, marine ecology and related areas.

       21. Terramar Project Inc was founded in 2012 and Terramar UK was formed in 2014.
           Both organizations ceased operations in 2019 and were dissolved as corporations and
           charities in 2019/2020. During this period of time, Ghislaine Maxwell contributed
           US$560,650 to the running costs of Terramar Project and approximately $10,000 to
           Terramar UK.

       22. We have identified one donation outside of the time period of this report from
           Epstein Interests Foundation of US$57,000 which was recorded as a donation to
           Terramar Project Inc in the financial year ending 1/21/2013.6 All funds received by
           Terramar Project Inc were disbursed for the charitable purposes of Terramar Project
           Inc. No personal, financial benefit was obtained by Ghislaine Maxwell.

          Summary of Materials Reviewed

       23. The principal US bank accounts (i.e., bank accounts with US registered and licensed
           banks) covered by this report are accounts in the names of Ghislaine Maxwell, her
           spouse, trusts of which her spouse was a beneficiary and she could have been a
           beneficiary, and various Limited Liability Corporations owned either by Ghislaine
           Maxwell or her spouse or trusts of which her spouse was a beneficiary and she could
           have been a beneficiary held with:

             1)              (accounts closed in April 2014)
                      7
             2)

             3)                  (accounts closed in 2020)

             4)           (accounts closed in 2020)

             5)                      (account opened in 2020)

           We have not been able to review the bank statements of                          due
           to the termination of the accounts in 2020 and the lack of access to the underlying
           documents. We have therefore had to rely on information provided by the Spouse
           which we can confirm is consistent with our conclusions


6
    See appendices to this report.
7




                                                                                      6|Page
Case 1:20-cr-00330-AJN Document 97-15 Filed 12/14/20 Page 8 of 10
Case 1:20-cr-00330-AJN Document 97-15 Filed 12/14/20 Page 9 of 10
Case 1:20-cr-00330-AJN Document 97-15 Filed 12/14/20 Page 10 of 10
